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                       IN THE UNITED STATES DISTRICT COURT
                           EASTERN DISTRICT OF ARKANSAS
                                 WESTERN DIVISION

UNITED STATES OF AMERICA                                                           PLAINTIFF

v.                                  NO. 4:05CR00054-01 JLH

KENNETH RAY IRVIN                                                                DEFENDANT


                                         JUDGMENT

       Pursuant to the Opinion and Order entered separately today, Kenneth Ray Irvin’s motion to

vacate or set aside his conviction and sentence pursuant to 28 U.S.C. § 2255 is DENIED. The

petition is dismissed with prejudice.

       IT IS SO ORDERED this 13th day of January, 2009.




                                                   ___________________________________
                                                   J. LEON HOLMES
                                                   UNITED STATES DISTRICT JUDGE
